        Case 07-10416-BLS   Doc 2111-1   Filed 08/01/07   Page 1 of 1



              IN THE UNITED STATES BANKRUPTCY COURT
               IN AND FOR THE DISTRICT OF DELAWARE

New Century TRS Holdings, Inc.,          ) Case No. 07-10416 KJC
     et al.,                             ) Chapter 11
                                         ) Jointly Administered
                                         ) Hearing Date: September 11, 2007
                     Debtors,            ) Response Date: September 4, 2007
  NOTICE OF MOTION OF CHASE HOME FINANCE, LLC FORMERLY KNOWN AS
         CHASE MANHATTAN MORTGAGE CORPORATION FOR RELIEF
       FROM THE AUTOMATIC STAY UNDER 11 U.S.C. §362(d)(1)

To: The Persons on the Attached Service List
              Hearing on the Motion is scheduled for
                 September 11, 2007 at 1:30 p.m.

     ANY RESPONSE MUST BE FILED AND SERVED AND A CERTIFICATE OF
SERVICE FILED ON OR BEFORE SEPTEMBER 4, 2007 AT 4:00 P.M.
FAILURE TO TIMELY FILE AND SERVE A RESPONSE WILL RESULT IN AN
ORDER GRANTING THE RELIEF REQUESTED IN THE MOTION.

     You are required to file a response and the supporting
documentation required by Local Rule 4001-1(d) to the attached
motion at least five business days before the above hearing date.
     At the same time, you must also serve a copy of the response
upon Movant's attorney:

               Whittington & Aulgur
               313 North DuPont Hwy., Ste. #110
               P.O. Box 617
               Odessa, DE 19730

     The hearing date specified above may be a preliminary
hearing or may be consolidated with the final hearing, as
determined by the Court.
     The attorneys for the parties shall confer with respect to
the issues raised by the motion in advance for the purpose of
determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the
property, and the extent of any security instrument.


                     WHITTINGTON & AULGUR


               By:   /s/ Kristi J. Doughty
                     Robert T. Aulgur, Jr. (No. 165)
                     Kristi J. Doughty (No. 3826)
                     (302) 378-1661
                     Attorney for Movant
